                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )      No.:   3:02-CR-78-TAV-CCS
                                                )
MICHAEL SMITH,                                  )
                                                )
              Defendant.                        )


                             MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s pro se motion for a

sentence reduction in light of 18 U.S.C. § 3582(c) and the Fair Sentencing Act of 2010

(“FSA”) [Doc. 1132]. Amendment 750 to the United States Sentencing Guidelines (the

“Guidelines”) implemented the FSA and reduced the base offense level for most offenses

involving crack cocaine. The United States filed a response in opposition, asserting that

the defendant is in not eligible for any further reduction in sentence because his current

sentence is lower than the amended Guidelines range [Doc. 1208].

I.      Legal Background

        A district court may modify a defendant’s sentence after judgment has been

entered only if modification is permitted by statute. United States v. Ross, 245 F.3d 577,

586 (6th Cir. 2001). Modification is permitted by § 3582(c)(2) when the sentencing

range for the offense for which the defendant was sentenced has been lowered:

              [I]n the case of a defendant who has been sentenced to a term of
              imprisonment based on a sentencing range that has subsequently



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             been lowered by the Sentencing Commission pursuant to 28 U.S.C.
             § 994(o) . . . the court may reduce the term of imprisonment, after
             considering the factors set forth in section 3553(a) to the extent that
             they are applicable, if such a reduction is consistent with applicable
             policy statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2). The applicable policy statement is section 1B1.10 of the United

States Sentencing Guidelines Manual (the “Guidelines”), which designates the

amendments to the Guidelines that may be applied retroactively. See Dillon v. United

States, — U.S. —, —, 130 S. Ct. 2683, 2691 (2010) (“A court’s power under §

3592(c)(2) . . . depends in the first instance on the Commission’s decision not just to

amend the Guidelines but to make the amendment retroactive.”); see also id. at 2693

(describing the Sentencing Commission’s retroactivity determinations made pursuant to

28 U.S.C. § 994(u) as “binding”). In relevant part, section 1B1.10 provides:

             (a)    Authority.--

             (1) In General.--In case in which a defendant is serving a term of
             imprisonment, and the guideline range applicable to that defendant
             has subsequently been lowered as result of an amendment to the
             Guidelines Manual listed in subsection (c) below, the court may
             reduce the defendant’s term of imprisonment as provided by 18
             U.S.C. § 3582(c)(2). As required by 18 U.S.C. § 3582(c)(2), any
             such reduction in the defendant’s term of imprisonment shall be
             consistent with this policy statement.

             ....

             (b)    Determination of Reduction in Term of Imprisonment.--

             ....

             (2) Limitation and Prohibition on Extent of Reduction.--


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             (A) Limitation.--Except as provided in subdivision (B), the court
             shall not reduce the defendant’s term of imprisonment under 18
             U.S.C. 3582(c)(2) and this policy statement to a term that is less than
             the minimum of the amended guideline range determined under
             subdivision (1) of this subsection.

U.S. Sentencing Guidelines Manual § 1B1.10 (revised Nov. 1, 2012). The application

notes to section 1B1.10 also provide that, in considering a reduction in a defendant’s term

of imprisonment, a court must consider the § 3553 factors and the danger to the public

created by any reduction in a defendant’s sentence. Id. § 1B1.10 cmt. n.1(B). A court

may also consider a defendant’s post-sentencing conduct. Id.

      The FSA altered the statutory penalties for offenses involving cocaine base

(“crack cocaine”) and directed the Sentencing Commission to promulgate emergency

amendments that would bring the Guidelines into conformity with its provisions. The

result of that directive was Amendment 748, a temporary, emergency amendment, which

included a downward adjustment of the base offense levels for possession of crack

cocaine. On April 6, 2011, the Sentencing Commission re-promulgated as permanent the

provisions of Amendment 748 and on April 28, 2011, submitted the amendment for

congressional review. See 76 Fed. Reg. 24960, 24962 (May 3, 2011). On June 30, 2011,

the Sentencing Commission voted to give Amendment 748 retroactive effect, to be

designated Amendment 750 in Appendix C of the Guidelines. See 76 Fed. Reg. 41332–

35 (June 13, 2011). On November 1, 2011, Amendment 750 went into effect, thus

authorizing retroactive application of the lowered offense levels contained in the FSA for

offenses involving possession of crack cocaine. Because Amendment 750 may now be

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applied retroactively, see U.S. Sentencing Guidelines Manual § 1B1.10(c), if the

sentencing range for the defendant’s offense has been lowered by Amendment 750, then

the Court has discretion under § 3582(c)(2) to reduce the defendant’s sentence, after first

considering the § 3553 factors and whether the reduction is consistent with applicable

policy statements issued by the Sentencing Commission.

II.      Analysis

         Following a jury trial, the defendant was convicted of conspiring to distribute and

possess with the intent to distribute more than fifty grams of crack cocaine, in violation of

21 U.S.C. §§ 841(a)(1) and 846, and possession and discharge of a firearm during and in

relation to a drug trafficking offense, in violation of 18 U.S.C. § 924(c)(1)(A)(iii) [Doc.

911].     In calculating the applicable Guidelines range, the probation officer found

defendant responsible for 1.5 kilograms of crack cocaine, which resulted in a base

offense level of 38 [Presentence Investigation Report (“PSR”) ¶ 74]. After a two-level

enhancement for obstruction of justice, the total offense level for the drug conspiracy was

40 [Id. ¶¶ 78, 81]. Given the defendant’s criminal history category of I, the resulting

Guidelines range was 292 to 365 months for the drug offense, followed by a statutorily-

mandated consecutive ten-year term for the firearms offense [Id. at ¶¶ 82, 86, 105, 106].

On June 3, 2004, the defendant received an aggregate sentence of 412 months’

imprisonment: 292 months for the drug offense followed by 120 months for the firearms

offense [Doc. 782].




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      The defendant appealed and the Sixth Circuit Court of Appeals vacated the

sentence and remanded for re-sentencing pursuant to United States v. Booker, 543 U.S.

220 (2005). On remand, the defendant filed a motion for downward departure, and on

April 13, 2006, the Honorable James H. Jarvis granted the motion and sentenced the

defendant to 200 months for the drug offense, which was 32 percent below the bottom of

the Guidelines range, followed by the 120-month mandatory minimum for the firearms

offense [Doc. 911].   The defendant appealed again, but the Sixth Circuit Court of

Appeals affirmed. United States v. Smith, 239 F. App’x 162 (6th Cir. 2007).

      The Sentencing Commission subsequently lowered the base offense level for

offenses involving crack cocaine, and in July 2008, the Honorable Thomas W. Phillips

determined that Guidelines Amendment 706 lowered the applicable Guidelines range for

the defendant’s drug offense to 235 to 293 months’ imprisonment and that the defendant

was thus eligible for a sentence reduction pursuant to 18 U.S.C. § 3582(c) [Doc. 996].

Because the defendant had received a below-Guidelines sentence, and because the

Guidelines then authorized courts to “reduce a defendant’s sentence by a comparable

percentage after applying the amended range,” U.S. Sentencing Guidelines Manual §

1B1.10(b)(2)(B) (2008), the Court departed 32 percent below the amended Guidelines

range for the drug offense, lowering the defendant’s aggregate sentence to 280 months’

imprisonment [Id.].




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       Were the defendant sentenced today, the defendant would have a total offense

level of 36, and when combined with his criminal history category of I, an amended

Guidelines range of 188 to 235 months’ imprisonment, followed by a consecutive ten-

year mandatory minimum for violating § 924(c), for an effective Guidelines range of 308

to 355 months’ imprisonment. Although his amended range is lower than the Guideline

range previously applicable, his current sentence of 280 months’ imprisonment is lower

than the amended Guidelines range now applicable to him. The plain language of the

Guidelines precludes the Court from reducing his sentence any further.

       To the extent the defendant suggests that his post-sentence rehabilitative efforts

provide an independent basis for a sentence reduction, the Court disagrees. The Supreme

Court has held that district courts have discretion to consider post-sentence rehabilitation

in fashioning a new sentence where the original sentence was set aside on appeal. United

States v. Pepper, 131 S. Ct. 1229, 1241 (2011). Alleged rehabilitative efforts on their

own, however, do not authorize this Court to revisit the propriety of a defendant’s

sentence. If the defendant had been eligible for a reduction under § 3582(c), the Court

could have considered his post-sentence conduct in determining the extent of that

reduction, U.S. Sentencing Guidelines Manual § 1B1.10, comment. n.1(B)(iii), but the

defendant is not eligible for any reduction, so evidence about his conduct while

incarcerated is irrelevant.




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III.   Conclusion

       For the reasons given above, the defendant’s pro se motion for a sentence

reduction [Doc. 1132] is hereby DENIED.

       IT IS SO ORDERED.



                                s/ Thomas A. Varlan
                                CHIEF UNITED STATES DISTRICT JUDGE




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